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 1
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 6   ATTORNEY FOR Defendant,
     JOSEPH SHAWN CHAVEZ
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                               ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:12-CR-00213-007 AWI-BAM
12                  Plaintiff,
                                                        REQUEST FOR EXTENSION OF DATE
13
            v.                                          TO SURRENDER; ORDER
14

15   JOSEPH SHAWN CHAVEZ, JR.,

16                  Defendant.

17   TO:    THE HONORABLE JUDGE ANTHONY W. ISHII, AND TO UNITED STATES
            ATTORNEY BENJAMIN WAGNER AND HIS REPRESENTATIVE,
18          ASSISTANT UNITED STATES ATTORNEY KIRK E. SHERRIFF:
19

20          Defendant, JOSEPH SHAWN CHAVEZ, is currently scheduled to surrender on

21   February 8, 2016. Attached hereto is an Order Prescribing Notice for a Guardianship Hearing

22   regarding the Defendant’s 16 year old daughter which is set for March 7, 2016.

23          The Defendant’s wife, Lucia Chavez, is scheduled to surrender on January 11, 2016.

24   Mr. and Mrs. Chavez have two children, a son, Nathaniel, who is 21 years of age and a

25   daughter, Lexie, who is 16 years of age, who must have a guardian appointed while her parents

26   are incarcerated.

27          It is respectfully requested that Mr. Chavez’s surrender date be extended to April 1,

28   2016, in order to allow him to attend the Guardianship hearing on March 7, 2016. An

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 1    additional three weeks is also requested in case documents need to be filed with the Superior

 2   Court since this procedure is being done in pro per.

 3            On December 29, 2015, the Government advised this office that it will not stipulate to

 4   any requests for an extension due to the Court’s lack of jurisdiction beyond the seven days of

 5   the sentencing date which occurred on October 19, 2015. The past practice has been to grant

 6   these continuances if justice so required.

 7            It is respectfully submitted that Joseph Chavez’s surrender date be extended to April 1,

 8   2016, to allow him to attend the Guardianship Hearing on March 7, 2016, since he would be the

 9   only parent available to appear.

10                                                Respectfully submitted,

11    DATED:         January 4, 2016      By: /s/Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
12                                            Attorney for Defendant JOSEPH SHAWN
                                              CHAVEZ
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14

15                                                 ORDER

16            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the surrender date of

17   Defendant Joseph Chavez to the Bureau of Prisons be extended from February 8, 2016, to April

18   1, 2016, with all other orders and conditions to remain in effect until such surrender.

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20   IT IS SO ORDERED.
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     Dated:    January 4, 2016
22                                                  SENIOR DISTRICT JUDGE

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